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8                        UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                  WESTERN DIVISION
11
      ROBERT K. MAYBERRY,      )               Case No. 2:20-cv-00224-JLS-JDE
12                             )
                   Plaintiff,  )
13                             )               ORDER TO SHOW CAUSE RE
                               )               DISMISSAL FOR FAILURE TO
14                 v.          )
                               )               COMPLY WITH LOCAL RULE
15    SHERIFF ALEX VILLANUEVA, )               41-6
      et al.,                  )
16                             )
                               )
17                 Defendants. )
18
19          On January 8, 2020, the Los Angeles Sheriff’s Department (“LASD”)

20    filed a Notice of Removal to remove a civil action filed in Los Angeles

21    Superior Court by Plaintiff Robert K. Mayberry (“Plaintiff”) on October 21,

22    2019. See Dkt. 1; Dkt. 1-1 at 5-34 (CM/ECF pagination is used herein unless

23    otherwise stated). Plaintiff is proceeding pro se and in forma pauperis. See

24    Dkt. 32. On May 15, 2020, Plaintiff filed a First Amended Complaint

25    (“FAC”). Dkt. 28. On June 22, 2020, Plaintiff filed a Notice of Change of

26    Address, reflecting a new address on East 70th Street in Los Angeles,

27    California. Dkt. 33. Following the Court’s order on the FAC on August 10,

28    2020 (Dkt. 34), Plaintiff filed a Second Amended Complaint on September 8,
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1     2020. See Dkt. 35 (“SAC”).
2           On September 24, 2020, the Court issued an Order Regarding the SAC.
3     Dkt. 36 (“Order”). On October 13, 2020, the Order served on Plaintiff was
4     returned by the U.S. Postal Service to the Court as undelivered with no
5     forwarding possible. See Dkt. 37.
6           Local Civil Rule 41-6 provides:
7                  A party proceeding pro se shall keep the Court and opposing
8           parties apprised of such party’s current address and telephone
            number, if any, and e-mail address, if any. If mail directed by the
9           Clerk to a pro se plaintiff’s address of record is returned undelivered
10          by the Postal Service, and if, within fifteen (15) days of the service
            date, such plaintiff fails to notify, in writing, the Court and opposing
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            parties of said plaintiff’s current address, the Court may dismiss the
12          action with or without prejudice for want of prosecution.
13
            More than 15 days have passed since the Court served the Order by U.S.
14
      Mail upon Plaintiff at his address of record, with the Order having now been
15
      returned as undeliverable.
16
            Plaintiff is hereby ORDERED TO SHOW CAUSE, in writing, within 14
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      days from the date of this order, why the action should not be dismissed for the
18
      apparent failure to comply with Local Civil Rule 41-16. If Plaintiff does not
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      timely file a response to this Order, the action may be dismissed for the same
20
      reason and for failure to prosecute and failure to comply with a Court order.
21
22
      See Fed. R. Civ. P. 41(b).

23
24    Dated: October 16, 2020
25                                                ____________________________
26                                                JOHN D. EARLY
                                                  United States Magistrate Judge
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